   Case 05-11681-elf    Doc 79Filed 07/18/06 Entered 07/19/06 15:19:44   Desc Main
                              Document      Page 1 of 1
                        United States Bankruptcy Court
                   For the Eastern District of Pennsylvania

   In re:                                     Chapter 13
MICHAEL J.    WHITMAN

  Debtor(s)                                   Bankruptcy No.     0511681


                    Order Dismissing Chapter 13 Case and
                Directing Counsel to File Master Mailing List

  AND NOW, this     day of                  , 200_ upon
  consideration of the Motion to Dismiss filed by William C. Miller,
  Standing Trustee, this case is dismissed, and it is further ORDERED,
  that DANIEL T. MCGRORY ESQUIRE                   counsel for the debtor,
  shall file a master mailing list with the clerk of the Bankruptcy
  Court, currently updated (if such has not been previously filed);
  and it is further
  ORDERED, that any wage orders are hereby VACATED.




                                                . Eric L. Frank

  William C. Miller, Trustee
  P.O. Box 40119
  Philadelphia PA 19106-0119

  Counsel for Debtor(s)
   DANIEL T. MCGRORY ESQUIRE
   PIZONKA REILLEY & BELLO
   144 E. DEKALB PIKE STE 300
   KING OF PRUSSIA  PA 19406



  Debtor(s)

   MICHAEL J.    WHITMAN

   920 TYSON AVENUE
   PHILADELPHIA  PA       19111
